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               IN THE UNITED STATES DISTRICT COURT
                   FOR THE DISTRICT OF MONTANA
                      GREAT FALLS MONTANA


UNITED STATES OF AMERICA,                     Case No. CR 19-25-GF-BMM

                Plaintiff,
                                             ORDER ALLOWING VIDEO
vs.                                              APPEARANCE

DAKOTA BLACKELK HOULE,

               Defendant.

      Defendant Dakota BlackElk Houle, having filed an Unopposed Motion to

Appear via video;

      IT IS HEREBY ORDERED that the Defendant shall appear via video from

the Crossroads Correctional Center (Core Civic Facility) in Shelby, Montana, at his

Sentencing Hearing which is scheduled for Wednesday, November 18, 2020, at

11:00 a.m.

      DATED this 2nd day of October, 2020.




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